Case 2:90-cv-00520-KJM-SCR   Document 2914-1   Filed 08/01/08   Page 1 of 37




                        EXHIBIT A
         Case 2:90-cv-00520-KJM-SCR                 Document 2914-1              Filed 08/01/08         Page 2 of 37



     1     PRISON LAW OFFICE                                             ROSEN, BIEN & GALVAN, LLP
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     2     STEVEN FAMA Bar No.: 99641                                    JANE E. KAHN Bar No.: 112239
           ALISON HARDY Bar No.: 135966                                  AMY WHELAN Bar No.: 215675
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13
           Attorneys for Plaintiffs
14
                                  IN THE UNITED STATES DISTRICT COURTS
15                              FOR THE EASTERN DISTRICT OF CALIFORNIA
16.                            AND THE NORTHERN DISTRICT OF CALIFORNIA
                        UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
17
                          PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
18
          CALPH     COLEMAN, et al.,                                     No.: Civ S 90-05.20 LKK-JFM P
19
                          Plaintiffs,                                    THREE-JUDGE COURT
20
                  VS.
21
          ARNOLD        SCHWAIGZENEGGER,             et al.,
22
                          Defendants                               )
23                                                                .)
          MARCIANO PLATA ,et al.,                                  ) No. CO 1351 THE
24                                                                 )
                          Plaintiffs,                              ) THREE-JUDGE COURT
25
26 ARNOLD               SCHWARZENEGGER,              et al.,       ) PLAINTIFFS' FIRST REQUESTS FOR
                                                                   ) PRODUCTION OF DOCUMENTS TO
27                vs.                                                    DEFENDANTS
                         D_efendants_
28

                                                                   -1-
            PLAIN'FIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMEN'fkS TO DEFENDANTS. NOS.: CIV S 90-0520 LKK-JFM. C01-1351 THE
         Case 2:90-cv-00520-KJM-SCR                     Document 2914-1            Filed 08/01/08        Page 3 of 37



           PROPOUNDING PARTIES:                         Plaintiffs Marciano Plata et al.
     2     RESPONDING PARTIES:                          Defendants Arnold Schwarzenegger et al.
     3     SET NUMBER:                                  One
  4                 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     5              PLEASE TAKE NOTICE               that, pursuant to Federal Rules of Civil Procedure Rule 34, Plaintiffs
     6     Marciano Plata et al. request that Defendants Arnold Schwarzenegger et al. ("Defendants") produce all
     7    responsive Documents requested herein at the office of Plaintiff's counsel, the PRISON LAW
     8    OFFICE, 2173 E. Francisco Blvd., Suite M, San Rafael, CA 94901. The date of production shall be
 9        thirty (30) days from the date of these Requests, or on such other date as counsel may mutually agree.
10                                                              INSTRUCTIONS
11                  1.        The following Requests require the production of all responsive documents within the
12         sole or joint possession, custody, or control of any agents, agencies, boards, departments, employees,
13        servants, representatives, consultants, counsel, and/or other persons or entities acting or purporting to
14        act on   Defendants' behalf, or otherwise subject to the control of any Defendants.
15                 2.         The    fbliowing Requestscontinuing ifi nature and require prompt supplemental
                                                          are

16        responses for any and all responsive documents that come into any Defendant's sole or joint
17        possession, custody, or control after the service of any initial responses hereto.
18                3.     The following Requests require the production of preliminary drafts, revisions, and/or
19        copies of any such document if the copy is in any way different from the original.
20                4.     The following Requests require the production of all transmittal sheets, cover letters,
21        exhibits, enclosures and attachments to the documents, in addition to the documents themselves.
22                 5.         Pursuant to Federal Rule of Civil Procedure 34(b), all responsive doctwaents are
23        required to be produced either: (a) as they are kept in the usual course of business (together with copies
24        of any file labels or binder covers fbr the files or binders in which they are maintained); or (b)
25        organized and labeled to con'espond with the categories of the Requests to which they respond.
26                6.       If any responsive document is maintained in a computer-readable form, the document
27        shall be produced: (a) in hard copy form, in a format generally used in the ordinary course of business;
28        and (b) on disk, tape, or other form of computer storage, with instructions necessary to convert the

                                                                      -2-
            PLAINTIFFS'   FIRST   REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 LKK4FM, C01-1351 THE
         Case 2:90-cv-00520-KJM-SCR                             Document 2914-1                Filed 08/01/08       Page 4 of 37



     1     information into reasonably usable form (including the name and version number of the program used
     2     to create        or   read the data).
     3                 7.            In construing the Requests herein, the singular shall include the plural and the          plural
     4     shall include the singular. A masculine, feminine or neutral pronoun shall not exclude the other
     5     genders, so that the interpretation applied results in the more expansive production. The terms "and"
     6     and "or" shall be construed broadly and expansively as "and/or," and shall not •e construed to limit

     7     the documents or information sought in any manner.
     8                 8.           If may Request demands production of documents that have been lost, discarded, or
     9    destroyed, identify such documents as completely as possible. Such identification shall include, but is
10        not limited to, a description of the subject matter of the document, the author of the document, the date

11        of the documem's creation, the date of disposal, manner of disposal, reason for dispos',d, person
12        authorizing the disposal and person disposing of the document,
13                 9.      For any responsive document or portion thereof that is either redacted or withheld, in
14        whole or in part, on the basi• of any assertion of privilege or other asserted exemption from discovery.,
15        furnish a list identifying each document, or portion thereof, not produced for this reason, together with
16        the following information: (a) the title or identity of the document; (b) the date of the document; (c) the
17        type or nature of the document; (d) the identity, title, or responsibilities, mad retationshlp to Defendants
18        of all persons who either prepared or received the document; (e) the number of pages and attachments;
19        (e) the type and nature of the privilege or exemption asserted; and (f) the conteuts or subject matter of
20        the document, with sufficient detail to explain the basis for the privilege or exemption asserted (see
21        Fed. R. Civ. P. 26(b)(5)). For any responsive document or portion thereof that may not properly be
22        redacted or withheld in its entirety, produce each and every portion thereof to which the claimed
23        privilege or exemption does not apply and specify, on the face of each such page or portion, the fact
24        and reason for the redaction or withholding.
25        //
26                                                                    DEFINITIONS
27                     1.           "DOCUMENT"           or   "DOCUMENTS"          as   used herein is intended to have the broadest
28        possible meaning and to include anything coming within the definition of "writings" and "recordings"
                                                                             -3-
               PLAINTIFFS'       FIRS]" REQUESTS FOR   PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 LKK-JFM, C0|-1351 THE
         Case 2:90-cv-00520-KJM-SCR                            Document 2914-1            Filed 08/01/08         Page 5 of 37



           as                  1001(I) of the Federal Rules of Evidence. The term refers to but is not limited to
                 set forth in Rule

           the product of any method of recording information, whether by writing or otherwise, including
     3     without limitation: any written, electronic, or computerized files, data or software; memoranda;
     4     correspondence; communications; reports; summaries; studies, analyses; evaluations; notes or
     5     notebooks; indices; logs; books, booklets or binders; pamphlets; calendar or dim)' entries; ledger
     6     entries; press clippings; graphs; tables; charts; drawings; maps; meeting minutes; photographs;
     7     transcripts; audio or video recordings or tapes; facsimile transmissions; electronic mail messages; and
     8     the like. "DOCUMENT" shall include each copy of any whole or part of a document on which there
     9     appears any marking or deletion which does not appear on the original or other copies thereof, together
10         with all drafts or notes for the preparation of each document. If the.original of a document is not
tl         available, "DOCUMENT" includes any identical copy of the original.
 12                    2.        "RELEVANT TIME PERIOD" for the purpose of these Requests means the time period
13        from April 4, 2006 (six months prior to Governor Schwarzenegger's October 4, 2006 Proclamation of
14         a    State of Emergency) until the present.
15                     3. "REFER(S) TO" or "RELATE(S) TO" means constituting, representing, defining,
16        depicting, concerning, embodying, reflecting, identifying, stating, mentioning, addressing, or
17        pertaining to the subject matter of the request in whole or in part, directly or indirectly.
18                    4.         "INCLUDING"           means   "including, but not limited to", and is not to be construed to
19        limit a Request.
20                    5.         "COMMUNICATIONS"                 means   any recorded transfer of information or impression,
21        whether it be by digital, electronic, audio, visual, written or other means.
22                    6.        ."YOU"' and "YOURS' refers to all defendants in this litigation, their agents,
23        representatives, attorneys, and all other persons or entities acting on their behalf.
24                    7.         "DEPARTMENT"             means   the California Dep•uctment of Corrections and Rehabilitation,
25        including any boards, divisions, units, agencies, agents, servants, representatives, consultants, or
26        counsel thereof and any predecessor entities thereof, including the former California Department of
27        Corrections.
28

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               PLAINT|FFS'   FIRST   REQUE'STS FOR   PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 I.KK-JFM. C01-1351 THE
          Case 2:90-cv-00520-KJM-SCR                   Document 2914-1             Filed 08/01/08         Page 6 of 37



                     8.       "AB 900" means the Public Safety and Offender Rehabilitation Se•'ices Act of 2007,
            signed into law by Governor Arnold Schwarzenegger on May 2, 2007.
      3             9.        "PRISON'• and "PRISONS" means any and all facilities in which class members in this
     4      litigation are or can be incarcerated, any planned redesigns of, consla-uction to, or renovations of such
      5     facilitles, and any new such facilities contemplated by AB900.
     6                10.    "TIMETABLE" means any DOCUMENT setting forth a calendar, schedule, chart,
     7      table, or any other information that RELATES to the timing for completing any or all phase(s) of the
     8      subject matter of the request.
     9              11.       "COMMUNICATION"             or   "COMMUNICATIONS"           means   any exchange or transfer of
.10         information between two or more natural persons, any Units of government, (including governmental
 11        agencies or local heads of government), non profit organizations, public interest groups, associations,
 12        quasi-public entities, and all other fon•ns of legal entities, whether written, oral, or in any other form.
 13                 12.       "MAXIMUM CAPACITY"               means   the maximum number of inmates who can safely be
 14        housed in the PRISONS.
 15                                                    REQUESTS FOR. PRODUCTION
16                  REQUEST NO. 1: Any and all DOCUMENTS                     created during the RELEVANT TIME
17         PERIOD that REFER          or   RELATE TO the implementation of AB 900, INCLUDING but not limited to
18         the PRISONS'      capacity for traffic, sewage, water, power and other inti'astructure, the presence of
19         valley fever at or in the vicinity of the PRISONS, mad staffing levels at PRISONS.
20                  REQUEST NO. 2: Any and all DOCUMENTS created during the RELEVANT TIME
21         PERIOD that REFER or RELATE TO any projected change in California's PRISON population.
22                  REQUEST NO. 3: Any and all DOCUMENTS created during the RELEVANT TIME
23         PERIOD that REFER or RELATE TO the DEPARTMENT'S choice of the ten prisons identified as
24         sites fbr the construction of up to 7,484 additional prison beds under § 15819.40(a)(1)(A) of AB 900,
25         INCLUDING site surveys and Environmental Impact Reports.
26                 REQUEST NO. 4:              Any and all DOCUMENTS created during the RELEVANT TIME
27         PERIOD that REFER         or    RELATE TO any COMMUNICATIONS            regarding the DEPARTMENT'S
28         choice of the ten prisons identified as sites for the construction of up to 7,484 additional prison beds


            PLAINTIFFS'   FIRST REQUESTS.FOR   PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 THE
         Case 2:90-cv-00520-KJM-SCR                    Document 2914-1          Filed 08/01/08               Page 7 of 37



     1     under § 15819.40(a)(I)(A) of AB 900, INCLUDING any such COMMUNICATIONS                                 from or to any
     2     local community group and/or local government officials.
     3             REQUEST NO. 5:        Any and all DOCUMENTS created during the RELEVANT TIME
     4     PERIOD that REFER or RELATE TO any TIMETABLE for the construction of up to 7,484 additional
     5     prison beds m•der § 15819.40(a)(1 )(A) of AB 900, INCLUDING any DOCUMENTS RELATING TO
     6     the DEPARTMENT'S progress in meeting such a TIMETABLE.
     7             REQUEST NO. 6: Any and all DOCUMENTS created during the RELEVANT TIME
     8    PERIOD that REFER            or   RELATETO the DEPARTMENT'S consideration of the possible sites for
     9    the construction of up to 4,516 additional prison beds under § 15819.40(a)(1)(B) of AB 900.
10                 REQUEST NO. 7: Any and all DOCUMENTS created during the RELEVANT TIME
ll        PERIOD that REFER            or   RELATE TO any COMMUNICATION from any local entity, INCLUDING
12        any local community group and/or local government officials, regarding the sites for the construction
13        of up to 4,516 additional pri son beds under § 15819.40(a)(1)(B) of AB 900.
14                 REQUEST NO. 8:       Any and all DOCUMENTS created during the RE.LEVANT TIME
15        PERIOD that P,_EFER or RELATE TO any TIMETABLE for the construction of up to. 4,516 additional
16        prison beds under § 15819.40(a)(1)(B) of AB 900, INCLUDING any DOCUMENTS RELATING TO
17        the DEPARTMENT'S progress in meeting such a TIMETABLE.
18                 REQUEST NO. 9: Any and all DOCUMENTS created during the I•ELEVANT TIME
19        PERIOD that REFER           or    RELATE TO the DEPARTMENT'S identification of appropriate sites to
20        construct   6,000 additional prison beds under § 15819.40(b) of AB 900 (reentry facilities).
21                REQUEST NO. 10: Any and all DOCUMENTS created during the RELEVANT TIME
22        PERIOD that REFER           or    RELATE TO any COMMUNICATION from any local entity, INCLUDING
23        m•y local community group and/or local government ofticials, regarding the sites tbr the construction
24        of up to 6,000 additional prison beds under § 15819.40(b) of AB 900           (reentry facilities).
25                REQI[JEST NO. 1I: Any and all DOCUMENTS                  created during the RELEVANT TIME
26        PERIOD that REFER           or    RELATE TO any TIMETABLE for the DEPARTMENT to acquire land,
27        design, construct and renovate in order to construct 6,000 additional prison beds, under § 15819.40(b)
28

                                                                   -6-
           PLAINTIFFS'   FIRST   REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFFNDANTS, NOS.:   CIV S 90-0520   I.KK-JFM, C01-1351 II-IE
         Case 2:90-cv-00520-KJM-SCR                        Document 2914-1               Filed 08/01/08          Page 8 of 37



     I     of AB 900 (reentry facilities), INCLUDING any DOCUMENTS RELATING TO the
     2 DEPARTMENT'S proga'ess in meeting such                        a TIMETABLE.

     3             REQUEST NO. 12: Any and all.DOCUMENTS created during the RELEVANT TIME
     4     PERIOD that REFER           or   RELATE TO the DEPARTMENT'S consideration of possible sites for the
     5     construction of new buildings to treat or house 6,000 irmaates under § 15819.40(c) ofAB 900.
     6             REQUEST NO. 13: Any and all DOCUMENTS created during the RELEVANT TIME
     7     PERIOD that REFER           or   RELATE TO any COMMUNICATION from any local entity, INCLUDING
     8     any local community group and/or local government                  officials, regarding the sites for construction of
     9     new   buildings to treat or house 6,000 inmates under§ 15819.40(c) of AB 900.
10                  REQUEST NO. 14: Any and all DOCUMENTS created during the RELEVANT TIME
11         PERIOD that REFER           or   RELATE TO any TIMETABLE for the DEPARTMENT                           to construct new

12        buildings to treat or house.6,000 inmates under§ 15819.40(c) of AB 900, INCLUDING any
13        DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting such a TIMETABLE.
14                 REQUEST NO. I5: Any and all DOCUMENTS created during the RELEVANT TIME
15        PERIOD that ILEFER or RELATE TO the identification of appropriate sites to add up to 4,000
16        additional prison beds, under § 15819.41 (a) of AB900.
17                REQUEST NO. 16: Any and all DOCUMENTS created during the RELEVANT TIME
18        PERIOD that REFER or RELATE TO any COMMUNICATION from any local entity, INCLUDING
19        any local community group and/or local government officials, regarding the sites to add up to 4,000
20        additional prison beds, under § 15819.41 (a) of AB900.
21                REQUEST NO. 17: Any and all DOCUMENTS created during the RELEVANT TIME
22        PERIOD that REFER or RELATE TO any TIMETABLE for the DEPARTMENT to design, construct,
23        and renovate existing facilities in order to add up to 4,000 additional beds under §15819.41 (a) of
24        AB900, INCIIMDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress in
25        meeting such a TIMETABLE.
26               REQUEST NO. 18: Any and all DOCUMENTS created during the RELEVANT TIME
27        PERIOD that REFER           or    RELATE TO the DEPARTMENT'S identification of appropriate sites to
28        construct new     buildings to treat or house up to 2,000 inmates under § 15819.41(b) of AB 900.

           PLAINTIFFS"   FIRST   REQUESTS   FOR   PRODUCTION OF DOCI.JMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 LKK-,IFM, C01-1351 TI-IF_
         Case 2:90-cv-00520-KJM-SCR                   Document 2914-1             Filed 08/01/08         Page 9 of 37



                    REQUEST NO. 19: Any and all DOCUMENTS created during the RELEVANT TIME
           PERIOD that REFER          or   RELATE TO any COMMEhN- ICATfON from any local entity, INCLUDING
     3     any local community group and/or local government officials, regarding the sites for the construction
           of new buildings to treat or house up to 2,000 inmates under § 15819.41(b) of AB 900.
     5              REQUEST NO. 20: Any and all DOCUMENTS created during the RELEVANT TIMId2
     6     PERIOD that REFER          or   RELATE TO any TIMETABLE for the DEPARTMENT to design, construct,
     7     and establish new buildings to treat or house 2,000 inmates under § 15819.41            (b)of AB 900,
     8     INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting such a
     9     TIMETABLE.
10                  REQUEST NO. 21: Any and all DOCUMENTS created during the RELEVANT TIME
II         PERIOD that REFER          or   RELATE TO the DEPARTMENT'S identification of appropriate sites to
12         construct, establish and operate reentry program facilities that will house 10,000 inmates, under §
13         15819.41(c) of AB 900.
14                REQUEST NO. 22: Any and all DOCUMENTs created dui'ing the RELEVANT TIME
15         PERIOD that REFER          or      TOany COMMUNICATION fi-om any local entity, INCLUDING
                                           RELATE
16         any local community group and/or local government officials, regarding the sites for the construction,.
17         establishment and/or operation of reentry program facilities to house 10,000 inmates, under §
18         15819.41(c) of AB 900.
19                REQUEST NO. 23: Any and all DOCUMENTS created during the RELEVANT TIME
20        PERIOD that REFER           or   RELATE TO any TIMETABLE tbr the DEPARTMENT to construct,
21        establish and operate reentry program facilities that will house          0,000 inmates, under§ 15819.41 (c) of
22        AB 900 (reentry facilities), INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S

23        progress in meeting such a TIMETABLE.
24                 REQUEST NO. 24: Any and all DOCUMENTS created during the RELEVANT TIME
25        PERIOD that.REFER          or    tLELATE TO any TIMETABLE for the transfers of inmates out of state under
26        §11191 of ABg00, INCLUDIN(3 any DOCUMENTS RELATING TO the DEPARTMENT'S progress
27        in meeting such a TIMETABLE.
28

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            PLAINTIFFS'   FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 1.KK-JFM, C01-I351 THE
         Case 2:90-cv-00520-KJM-SCR                        Document 2914-1             Filed 08/01/08       Page 10 of 37



                    REQUEST NO. 25: Any and all DOCUMENTS created during the RELEVANT TIME
     2     PERIOD that REFER            or   RELATE TO the DEPARTMENT'S                ability or lack of ability to hire and/or
     3     retain medical and mental health staff in PRISONS, INCLUDING but not limited to any studies or
 4         analyses of the effect of AB900 on medical mad mental health staffing levels.
     5             REQUEST NO. 26: Any and all DOCUMENTS created during the RELEVANT TIME
     6     PERIOD that REFER or RELATE TO any studies or analyses of the effect of AB900 on medical and
     7     mental health care at the PRISONS.
     8              REQUEST NO. 27: Any and all DOCUMENTS created during the RELEVANT TIME
     9     PERIOD that REFER            or   RELATE to any measure(s) that YOU have initiated or considered in order to
10         reduce prison populations, other than the measures set.forth in AB900.
11                  REQUEST NO. 28: Any and all DOCUMENTS created during the RELEVANT TIME
12         PERIOD, that RELATE TO any contingency plans, other than population reducing measures, that
13         YOU have considered initiating when, in YOUR estimation, the PRISONS reach their MAXIMUM
14         CAPACITY.
15                  REQUEST NO. 29: Any and all DOCUMENTS created during the RELEVANT TIME
16         PERIOD that I•ELATE TO YOUR                    or   the DEPARTMENT'S determination of the MAXIMUM
17         CAPACITY of any PRISON                 or   the prison system as a whole.
18                  REQUEST NO. 30: Any and all DOCUMENTS created during the RELEVANT TIME
19         PERIOD that REFER            or   RELATE TO any TIMETABLE for obtaining the funding to implement AB
20         900, INCLUDING any DOCUMENTS RELATING TO YOUR progress in meeting such a
21         TIMETABLE.
22                  REQUEST NO. 31: Any and all DOCUMENTS created during the RELEVANT TIME
23         PERIOD that REFER            or   RELATE TO any consideration of placing limitations on the Prison
24         population.
25                  REQUEST NO. 32: Any and all DOCUMENTS created during the RELEVANT TIME
26         PERIOD that REFER            or   RELATE TO any consideration of the effects of sentencing reform on the
27         PRISON     population.
28

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            PLAINTIFFS'   FIRST   REQUESTS FOIl   PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520   LKK-JFM, C01-1351 I"I-|E
         Case 2:90-cv-00520-KJM-SCR                    Document 2914-1             Filed 08/01/08         Page 11 of 37



     1           REQUEST NO. 33: Any and all DOCUMENTS created during the RELEVANT TIME
     2     PERIOD that REFER or RELATE TO any consideration of the effects of a sentencing commission on
     3     the PRISON       population.
     4              REQUEST NO. 34: Any and all DOCUMENTS                       created during the RELEVANT TIME
     5     PERIOD that REFER          or   RELATE TO any consideration of the effects of any changes in parole
     policies on the PRISON population.
     6
  7          REQUEST NO. 35: Any and all DOCUMENTS thatREFER or RELATE TO the
   8 comprehensive analysis of existing CDCR beds, programming space, clinical/mental health space,-
  9 infrastructure capacities, and projected mitigation referenced at 2:6-8 of the Declaration Of Scott
10 Keman In Support Of Defendant's Supplemental Brief In Opposition To Plaintiffs' Motion For
tt Referral To A Three Judge Panel, filed on May 24, 2007 in Coleman v. Schwarzenegge•.
12           REQUEST NO. 36: Any and all DOCUMENTS that REFER or RELATE TO the analysis ot:
13 additional capacity available within the state referenced at 2:8-12 of the Declaration Of Scott Kernan
14 In Support Of Defendant's Supplemental Brief In Opposition To Plaintiffs' MOtion For Referral To A
15 Three Judge Panel, filed on May 24, 2007 in Coleman v. Schwarzenegger.
16           REQUEST NO. 37; Any and all memoranda and/or other COMMUNICATIONS that
17 REFER or RELATE TO any changes or clarifications of parole discharge policies.
18           REQUEST NO. 38: Any and all memoranda and/or other COMMUNICATIONS that
19 REFER or RELATE TO any changes and/or clarifications of parole revocation policies.
20
21
22         Dated:                                                       Respectfully submitted,
23
24
25
                                                                        Prison Law Office
26                                                                      Attorneys for Plaintiffs
27
28


            PLAINTIFFS'   FIRST REQUESTS FOR PRODUCTION OF DOCUMENrS TO DEFENDANTS, NOS.: CIV S :)1)-0520 LKK-JFM, C01-I 351 THE
Case 2:90-cv-00520-KJM-SCR                     Document 2914-1          Filed 08/01/08       Page 12 of 37



           1                              DECLARATION OF SERVICE BY MAIL
        2
                Case Name: Coleman v. Schwarzenegger
        3                  United States District Court
                           Eastern District of California           No. 2:90-cv-00520 LKK JFM P
        4
                               Plata v.    Schwarzenegger
        5                      United States Dist•rict Court
                               Northern District of California      No. C-01-1351 T.E.H.
        6
        7
                I am employed in the County of Matin, Cafifornia. I am over the age of 18 years and not a
        8      !party to the within entitled cause: my business address is Prison Law Office, General
               Delivery,   San Quentin, California 94964.
       9
   10           On September 5, 2007 attached
   11          tHREE JUDGE COURT
   12          PLAINTIFFS' FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
               DEFENDANTS
   1.3
   1.4          in sa!d cause: placing, or causing to be placed, a true copy thereof, enclosed in a sealed
                envelope witla postage thereon fi•lly prepaid in the United States Mail at San Rafael,
   15           California, addressed as follows:
   16
  17
  18 LISA A. TILLMAN
     SAMATHA TAMA
  19 Deputy Attorney Generals
     Office of the Attorney General
  20 455 Golden Gate Avenue, Suite t 1000
     San Francisco, CA 94102
  21
  22
  23
  24
  25           I declare under penalty of perjury under         laws of the State of California that the
               foregoing is true and correct, and that thisthedeclaration  was executed at San Rafael,
  26           Zalifornia on September 5, 2007..
  27
  28                                                     Edie DeGraff
Case 2:90-cv-00520-KJM-SCR   Document 2914-1   Filed 08/01/08   Page 13 of 37




                         EXHIBIT B
 Case 2:90-cv-00520-KJM-SCR                        Document 2914-1          Filed 08/01/08       Page 14 of 37



      1    PRISON LAW OFFICE                                         BINGHAM, McCUTCHEN, LLP
           DONALD SPECTER Bar No.: 83925                             WARREN E. GEORGE Bar No.: 53588
     2     STEVEN FAMA Bar No.: 99641                                Three Embarcadero Center
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           Attorneys for Plaintiffs
14
                                 IN THE UNITED STATES DISTRICT COURTS
15                             FOR THE EASTERN DISTRICT OF CALIFORNIA
16                            AND THE NORTHERN DISTRICT OF CALIFORNIA
                       UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
17                       PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
18        •a•,LPH COLEMAN, et al.,                                  No.: Civ S 90-0520 LKK-JFM P
19                       Plaintiffs,                                THREE-JUDGE COURT
20               VS.

21        ARNOLD       SCHWARZENEGGER,               et al.,
22                       Defendants
23        MARCIANO PLATA ,et al.,                                   No. C01-1351 TEH
24                       Plaintiffs,                                THREE-JUDGE COURT
                 VS.
25
          ARNOLD       SCHWARZENEGGER, et al.,
26                                                                  PLAINTIFF RALPH COLEMAN'S
                 VS.                                                FIRST REQUEST FOR PRODUCTION
27                      Defendants                                  OF DOCUMENTS TO DEFENDANTS
                                                                    SCHWARZENEGGER, TILTON,
28                                                                  GENEST, AND MAYBERG

           PLAINTIFF RALPH COLEMAN'S FIRST    REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS SCHWARZENEGGER, TILTON,
                                       GENEST, AND MAYBERG, NOS.: C1V S 90-0520 LKK-JFM P, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                       Document 2914-1             Filed 08/01/08           Page 15 of 37



         1    PROPOUNDING PARTIES:                      PLAINTIFF RALPH COLEMAN
      2       RESPONDING PARTIES:                       DEFENDANTS  SCHWARZENEGGER, TILTON,
                                                        GENEST, AND MAYBERG
      3
              SET NUMBER:                               ONE
      4
                      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
      5
                      PLEASE TAKE NOTICE       that, pursuant to Federal Rules of Civil Procedure Rule 34,
     6
             Plaintiff Ralph Coleman requests that Defendants Schwarzenegger, Tilton, Genest, and
     7
             Mayberg (Defendantg) produce all responsive Documents requested herein at the office of
     8
             Plaintiffs counsel, Rosen, Bien & Galvan, LLP at 315 Montgomery Street, 10 th Floor, San
     9
             Francisco, California, 94104. The date of production shall be thirty (30) days from the date of
 10
             these Requests, or on such other date as counsel may mutually agree.
 11
                                                            INSTRUCTIONS
 12
                      1.      The following Requests require the production of all responsive documents
 13
             within the sole or joint possession, custody, or control of any agents, agencies, boards,
 14
             departments, employees, servants, representatives, consultants, counsel, and/or other persons
15
             or entities acting or purporting to act on Defendants' behalf, or otherwise subject to the control
16
             of any Defendants.
17
                     2.       The   following Requests    continuing in nature and require prompt
                                                            are
18
             supplemental responses for any and all responsive documents that come into any Defendant's
19
             sole or joint possession, custody, or control after the service of any initial responses hereto.
20
                      3.      The following Requests require the production of preliminary drafts, revisions,
21
             and/or copies of any such document if the copy is in any way different from the original.
22
                      4.      The following Requests require the production of all transmittal sheets, cover
23
             letters, exhibits, enclosures and attachments to the documents, in addition to the documents
24
             themselves.
25
                     5.      Pursuant to Federal Rule of Civil Procedure 34(b), all responsive documents are
26
             required to be produced either: (a) as they are kept in the usual course of business (together
27
             with copies of any file labels or binder covers for the files or binders in which they are
28
                                                                     -1-
             PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS           SCHWARZENEGGER, TILTON,
                                      GENEST, AND MAYBERG, NOS.: C1V S 90-0520 LKK-JFM P, C01-1351 TEH
 Case 2:90-cv-00520-KJM-SCR                    Document 2914-1             Filed 08/01/08           Page 16 of 37



  1    maintained); or (b) organized and labeled to correspond with the categories of the Requests to
     2 which they respond.
     3          6.    If any responsive document is maintained in a computer-readable form, the
    4 document shall be produced: (a) in hard copy form, in a format generally used in the ordinary
    5 course of business; and (b) on disk, tape, or other form of computer storage, with instructions
    6 necessary to convert the information into reasonably usable form (including the name and
    7 version number of the program used to create or read the data).
    8          7.    In construing the Requests herein, the singular shall include the plural and the
    9 plural shall include the singular. A masculine, feminine or neutral pronoun shall not exclude
  10 the other genders, so that the interpretation applied results in the more expansive production.
 11 The terms"•nd' and"oF shall be construed broadly and expansively asCend/or', and shall riot be
 12 construed to limit the documents or information sought in any manner.
 13            8.    If any Request demands production of documents that have been lost, discarded,
 14• or destroyed, identify such documents as completely as possible. Such identification shall
 15 include, but is not limited to, a description of the subject matter of the document, the author of
 16 the document, the date of the document's creation, the date of disposal, manner of disposal,
 17 reason for disposal, person authorizing the disposal and person disposing of the document.
 18           9.     For any responsive document or portion thereof that is either redacted or
 19 withheld, in whole or in part, on the basis of any assertion of privilege or other asserted
20 exemption from discovery, furnish a list identifying each document, or portion thereof, not
21 produced for this reason, together with the following information: (a) the title or identity of the
22 document; (b) the date of the document; (c) the type or nature of the document; (d) the identity,
23 title, or responsibilities, and relationship to Defendants of all persons who either prepared or
24 received the document; (e) the number of pages and attachments; (e) the type and nature of the
25 privilege or exemption asserted; and (f) the contents or subject matter of the document, with
26 sufficient detail to explain the basis for the privilege or exemption asserted (see Fed. R. Civ. P.
27 26(b)(5)). For any responsive document or portion thereof that may not properly be redacted
28 or withheld in its entirety, produce each and every portion thereof to which the claimed
                                                              -2-
      PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMI•NTS TO DEFI•NDANTS         SCHWARZENEGGER, TILTON,
                               GENEST, AND MAYBERG, NOS.: C1V S 90-0520 LKK-JFM P, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                      Document 2914-1           Filed 08/01/08          Page 17 of 37



      1    privilege or exemption does not apply and specify, on the face of each such page or portion,
      2    the fact and reason for the redaction or withholding.
      3                                                     DEFINITIONS
      4                1.        'DOCUMENT'or'Z)OCUMENTS' as used herein is intended to have the broadest
      5   possible meaning and to include anything coming within the definition of•'writingg and
      6   'tecordingg'as set forth in Rule 1001(1) of the Federal Rules of Evidence. The term refers to
     7    but is not limited to the product of any method of recording information, whether by writing or
     8    otherwise, including without limitation: any written, electronic, or computerized files, data or
     9    software; memoranda; correspondence; communications; reports; summaries; studies,
 10       analyses; evaluations; notes or notebooks; indices; logs; books, booklets or binders; pamphlets;
 11       calendar or diary entries; ledger entries; press clippings; graphs; tables; charts; drawings; maps;
 12       meeting minutes; photographs; transcripts; audio or video recordings or tapes; facsimile
 13       transmissions; electronic mail messages; and the like. "DOCUMENT' shall include each copy
 14       of any whole or part of a document on which there appears any marking or deletion which does
15        not appear        on   the original or other copies thereof, together with all drafts or notes for the
16        preparation of each document.            If the original of a document is not available,'DOCUMENT'
17        includes any identical copy of the original.
18                2.             Unless otherwise indicated,"RELEVANT TIME PERIOD' for the purpose of
19        these Requests means the time period from March 3, 2006 (the date the Court gave final
20        approval to the undisputed portions of the Revised Program Guide) until the present.
21                3.     'REFER(S) TO'or"RELATE(S) TO'means constituting, representing, defining,
22        depicting, concerning, embodying, reflecting, identifying, stating, mentioning, addressing, or
23        pertaining to the subject matter of the request in whole or in part, directly or indirectly.
24                4.     'INCLUDING'means'1ncluding, but not limited to','and is not to be construed to
25        limit a Request.
26                5.    't•DMMUNICATIONS'means any recorded transfer of information or
27        impression, whether it be by digital, electronic, audio, visual, written or other means.
28
                                                                   -3-
          PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS           SCHWARZENEGGER, TILTON,
                                   GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                    Document 2914-1              Filed 08/01/08          Page 18 of 37



      1             6.      'YOU'and'YOUt•'refers to all defendants in this litigation, their agents,
      2    representatives, attorneys, and all other persons or entities acting on their behalf.
      3            7.     'DEPARTMENT' means the California Department of Corrections and
     4     Rehabilitation, including any boards, divisions, units, agencies, agents, servants,
      5    representatives, consultants, or counsel thereof and any predecessor entities thereof, including
     6     the former California Department of Corrections.
     7              9.  'CDCR PRISON'and'•PRISONS'means any and all facilities in which class
     8     members in this litigation are or can be incarcerated, including DMH facilities, and any
     9     planned redesigns of, construction to, or renovations of such facilities, and any new such
 10        facilities contemplated by AB 900.
 11                 10.   'glMETABLE'means any DOCUMENT setting forth a calendar, schedule, chart,
 12        table, or any other information that RELATES to the timing for completing any or all phase(s)
 13        of the subject matter of the request.
 14                 11.   'tSDMMUNICATION'or'•OMMUNICATIONS'means any exchange or transfer
15         of information between two or more natural persons, any units of government, (including
16         governmental agencies or local heads of government), non profit organizations, public interest
17:        groups, associations, quasi-public entities, and all other forms of legal entities, whether written,
18        oral, or in any other form.
19                 12. "NON-TRADITIONAL HOUSING'or"NON-TRADITIONAL BEDS'means beds in
20        gyms, dayrooms, or other locations not intended to house inmates and includes those beds
21        commonly referred to as'bad bedg'by Defendants, inclusive of triple-bunks.
22                 13.     'UOLEMAN CLASS MEMBERS'or'PLAINTIFFS'means the class of state
23        prisoners with serious mental disorders, including but not limited to those CDCR inmate-
24        patients within the Correctional Clinical Case Management System (CCCMS), the Enhanced
25        Outpatient Program (EOP), Day Treatment Program (DTP), intermediate care beds, mental
26        health crisis beds, and acute care beds.
27        //
28        //
                                                                   -m-
           PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS           SCHWARZENEGGER, TILTON,
                                    GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-135I TEH
 Case 2:90-cv-00520-KJM-SCR                        Document 2914-1               Filed 08/01/08              Page 19 of 37



      1                                            REQUESTS FOR PRODUCTION
      2   REQUEST FOR PRODUCTION NO. 1:
      3            ALL DOCUMENTS and COMMUNICATIONS that REFER                                       or   RELATE to the
     4    implementation of the Court-ordered Revised Program Guide.
      5   REQUEST FOR PRODUCTION NO. 2:
     6             ALL DOCUMENTS and COMMUNICATIONS that REFER                                       or   RELATE to
     7    limitations or modifications of mental health programming, services or treatment from Revised
     8    Program Guide standards at any CDCR PRISON or housing unit for any reason during the
     9    RELEVANT TIME PERIOD.
 10       REQUEST FOR PRODUCTION NO. 3:
 11                ALL DOCUMENTS and COMMUNICATIONS that REFER                                      or    RELATE to
 12       limitations or modifications of vocational or educational programming in any CDCR PRISON
13        orhousing unit for any reason during the RELEVANT TIME PERIOD.
14        REQUEST FOR PRODUCTION NO. 4:
15                ALL DOCUMENTS and COMMUNICATIONS that REFER                                       or    RELATE to
16        limitations or modifications of recreation or yard time at any CDCR PRISON                            or   housing unit
17        for any reason during the RELEVANT TIME PERIOD.
18        REQUEST FOR PRODUCTION NO. 5:
19                All DOCUMENTS and COMMUNICATIONS that REFER                                  or    RELATE to the need for
20        additional resources (including but not limited to beds, treatment and office space, clinical and
21        custody staff, training, computers, or transportation) necessary to deliver constitutionally
22        adequate mental health care as set forth in the Court-approved Revised Program Guide to
23        PLAINTIFFS.
24        REQUEST FOR PRODUCTION NO. 6:
25                ALL DOCUMENTS and COMMUNICATIONS that REFER                                       or    RELATE to the need
26        for additional treatment space or offices to deliver adequate mental health care to
27        PLAINTIFFS       as   set forth in the Court-approved           Revised Program Guide, including but not
28        limited to evaluations undertaken in connection with the November                    13, 2006 memorandum
                                                                    -5-
          PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS                SCHWARZENEGGER, TILTON,
                                   GENEST, AND MAY'BERG, NOS.: CIV S 90-0520 LICK-JFM P, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                    Document 2914-1             Filed 08/01/08           Page 20 of 37



      1    from Peter Farber-Szekrenyi and John Dovey regarding'•Iental Health Services Delivery
      2   System Program Guide Implementation7
      3   REQUEST FOR PRODUCTION NO. 7:
     4             ALL DOCUMENTS and COMMUNICATIONS                             created, exchanged, or made during
     5    the RELEVANT TIME PERIOD that REFER                        or   RELATE to YOUR consideration of the
     6    recommendations for reducing or limiting the prison population summarized by the CDCR
     7    Expert Panel on Adult Offender Reentry and Recidivism Reduction Programs in its June 29,
     8    2007 Report at Appendix A (page 77).
     9    REQUEST FOR PRODUCTION NO. 8:
 10              ALL DOCUMENTS and COMMUNICATIONS created, exchanged, or made during
 11       the RELEVANT TIME PERIOD that REFER                        or   RELATE to YOUR consideration of the
 12       recommendations for reducing or limiting the prison population summarized by the Little
 13       Hoover Commission in its January 25, 2007 Report at Appendix D (page 61).
 14       REQUEST FOR PRODUCTION NO. 9:
15                ALL DOCUMENTS and COMMUNICATIONS                              created, exchanged or made during the
16        RELEVANT TIME PERIOD that REFER                     or   RELATE to the staffing, office space or
17        treatment space necessary to provide mental              health crisis care to PLAINTIFFS.
18        REQUEST FOR PRODUCTION NO. 10:
19                ALL DOCUMENTS OR COMMUNICATIONS              created, exchanged or made during the
20        RELEVANT TIME PERIOD that REFER or RELATE to the placement or existence of
21        prisoners on the MHSDS caseload in NON-TRADITIONAL BEDS.
22        REQUEST FOR PRODUCTION NO. 11:
23                ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
24        with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
25        the capacities of CDCR PRISONS and housing units, including but not limited to permanent
26        housing capacity, NON-TRADITIONAL HOUSING capacity, and budgeted capacity.
27        REQUEST FOR PRODUCTION NO. 12:
28
                                                                    -6-
          PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS           SCHWARZENEGGER, TILTON,
                                   GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 TEH
 Case 2:90-cv-00520-KJM-SCR                       Document 2914-1              Filed 08/01/08          Page 21 of 37



      1            ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
      2    with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
      3    the populations of CDCR PRISONS and housing units, including but not limited to the number
     4     of inmates by custody level, reception center, general population, administrative segregation
     5     units, behavior management units, CCCMS, EOP, and psychiatric services units.
     6     REQUEST FOR PRODUCTION NO. 13:
     7             ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
     8     with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
     9     the number of lockdown/modified programs during the reporting periods.
 10        REQUEST FOR PRODUCTION NO. 14:
 11                ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
 12        with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
13         attempted suicides and suicides.
14         REQUEST FOR PRODUCTION NO. 15:
15                 ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
16        with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
17        inmate appeals, including total appeals, overdue appeals, appeals per 100 inmates, and inmate
18        appeals broken down by category.
19        REQUEST FOR PRODUCTION NO. 16:
20                ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
21        with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
22        educational programs, vocational programs, and inmate work assignments, including capacity,
23        enrollment, and waitlist.
24        REQUEST FOR PRODUCTION NO. 17:
25                ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
26        with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
27        personnel vacancies, including budgeted positions, filled positions, and true vacancy totals for
28        custody, education, medical and mental health, support staff, and management.
                                                                  -7-
          PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS           SCHWARZENEGGER, TILTON,
                                   GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 TEH
 Case 2:90-cv-00520-KJM-SCR                   Document 2914-1          Filed 08/01/08        Page 22 of 37




         REQUEST FOR PRODUCTION NO. 18:
                   All DOCUMENTS that REFER           or   RELATE to the counting and/or business rules for
     3   COMPSTAT reports for the CDCR Division of Adult Institutions.
     4   REQUEST FOR PRODUCTION NO. 19:
     5            ALL DOCUMENTS and COMMUNICATIONS             created, exchanged, or made during
  6 the RELEVANT TIME PERIOD that REFER or RELATE to studies performed or
  7 commissioned by YOU regarding the effects of crowding or overcrowding on PLAINTIFFS or
  8 prisoners with mental illness.
  9 REQUEST FOR PRODUCTION NO. 20:
10          ALL DOCUMENTS and COMMUNICATIONS created, exchanged or made during the
11 RELEVANT TIME PERIOD that REFER or RELATE to community treatment or community
12 beds for prisoners or parole violators with mental illness.
13 REQUEST FOR PRODUCTION NO. 21:
14                ALL DOCUMENTS and COMMUNICATIONS that REFER                         or   RELATE to the
15       provision of yard or exercise time to COLEMAN CLASS MEMBERS during the RELEVANT
16       TIME PERIOD.
17       REQUEST FOR PRODUCTION NO. 22:
18                ALL DOCUMENTS and COMMUNICATIONS that REFER                         or   RELATE to the use of
19       alternative sites to licensed mental health crisis beds for prisoners in need of crisis beds or
20       suicide precautions, including but not limited to outpatient housing units (•HUg), mental
21       health outpatient housing units (•II-IOHUg), and holding cells, during the RELEVANT TIME
22       PERIOD.
23       REQUEST FOR PRODUCTION NO. 23:
24                ALL DOCUMENTS and COMMUNICATIONS that REFER                         or   RELATE to the use of
25       or   referral to mental health crisis beds for inmates not previously identified on the MHSDS
26       caseload during the RELEVANT TIME PERIOD.
27       REQUEST FOR PRODUCTION NO. 24:
28
                                                              -8-
         PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS SCHWARZENEGGER, TILTON,
                                  GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-I351 TEH
 Case 2:90-cv-00520-KJM-SCR                        Document 2914-1      Filed 08/01/08           Page 23 of 37



     1           ALL DOCUMENTS and COMMUNICATIONS that REFER                              or   RELATE to the
     2   number of CCCMS, EOP              or   other COLEMAN CLASS MEMBERS housed in Reception
     3   Centers during the RELEVANT TIME PERIOD.
     4   REQUEST FOR PRODUCTION NO. 25:
     5           ALL DOCUMENTS and COMMUNICATIONS that REFER                              or   RELATE to YOUR    or

     6   the CDCP,?s ability to transfer CCCMS and EOP inmates out of Reception Centers according to
     7   the timeframes established in the Revised Program Guide (60 days for EOP and 90 days for
     8   CCCMS).
     9   REQUEST FOR PRODUCTION NO. 26:
10               All DOCUMENTS and COMMUNICATIONS that REFER                         or    RELATE to the
11       implementation of Court-ordered mental health care programs in Reception Centers during the
12       RELEVANT TIME PERIOD.
13       REQUEST FOR PRODUCTION NO. 27:
14               All DOCUMENTS and COMMUNICATIONS that REFER                         or    RELATE to actions,
15       programs, policies, or procedures that YOU have adopted since October 2006 that YOU
16       contend will limit or reduce the number of COLEMAN CLASS MEMBERS housed in CDCR
17       PRISONS.
18       REQUEST FOR PRODUCTION NO. 28:
19              ALL DOCUMENTS and COMMUNICATIONS that REFER                               or   RELATE to the
2O       original determination of MHSDS (EOP, CCCMS, MHCB) housing capacity for each CDCR
21       PRISON housing unit at the time when the MHSDS housing capacity was first created.
22       REQUEST FOR PRODUCTION NO. 29:
23              ALL DOCUMENTS and COMMUNICATIONS that REFER                           or       RELATE to the
24       CDCP•s stated capacity for housing MHSDS           (EOP, CCCMS, or MHCB) inmates for each
25       CDCR PRISON        housing unit over the past five years.
26       REQUEST FOR PRODUCTION NO. 30:
27              ALL DOCUMENTS and COMMUNICATIONS that REFER                           or       RELATE to any
28       changes in the number of staff, treatment space, office space, or other resources related to
                                                             -9-
         PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS SCHWAILZENEGGER, TILTON,
                                  GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                    Document 2914-1              Filed 08/01/08           Page 24 of 37



      1   adjustments in capacity for housing MHSDS (EOP, CCCMS, or MHCB) inmates for each
      2   CDCR PRISON housing unit over the past five years.
      3   REQUEST FOR PRODUCTION NO. 31:
      4            ALL DOCUMENTS and COMMUNICATIONS that REFER                                   or    RELATE to mental
      5   health staffing studies, including workload studies, undertaken or commissioned by YOU that
     6    analyze the number and types of staff (clinical, custody, and support) required to implement
     7    the Court-ordered Revised Program Guide.
     8    REQUEST FOR PRODUCTION NO. 32:
     9             ALL DOCUMENTS and COMMUNICATIONS that REFER                                  or     RELATE to workload
 10       studies undertaken or commissioned by YOU that analyze treatment and office space needed to
 11       implement the Court-ordered Revised Program Guide.
 12       REQUEST FOR PRODUCTION NO. 33:
 13                ALL DOCUMENTS and COMMUNICATIONS                             created, exchanged, or made during
 14       the RELEVANT TIME PERIOD that REFER                       or   RELATE to requests for additional resources
 15       or   staff (clinical, custody, and support) for the provision of mental health treatment, including
16        but not limited to budget change proposals and draft budget change proposals.
17        REQUEST FOR PRODUCTION NO. 34:
18                 ALL DOCUMENTS and COMMUNICATIONS                             created, exchanged, or made during
19        the RELEVANT TIME PERIOD that REFER                      or    RELATE to overcrowding.
20        REQUEST FOR PRODUCTION NO. 35:
21                 ALL DOCUMENTS and COMMUNICATIONS            created, exchanged, or made from
22        January 1, 2005 to present that REFER or RELATE to YOUR ability to timely place
23        COLEMAN CLASS MEMBERS in MHSDS beds at each level of care (CCCMS, EOP,
24        MHCB, DMH), including delays in referral, endorsement and transfer.
25        REQUEST FOR PRODUCTION NO. 36:
26                ALL DOCUMENTS and COMMUNICATIONS that REFER                                  or     RELATE to YOUR
27        ability to transfer COLEMAN CLASS MEMBERS housed in administrative segregation or
28
                                                                  -10-
          PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS            SCHWARZENEGGER, TILTON,
                                   GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK.-JFM P, C01-1351 TEH
                   Case 2:90-cv-00520-KJM-SCR             Document 2914-1         Filed 08/01/08       Page 25 of 37

               1     administrative segregation overflow housing units for non-disciplinary reasons from October
           2        17, 2006 to present.
           3        REQUEST FOR PRODUCTION NO. 37:
           4                ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to the
           5        number or percentage of CDCR prisoners enrolled in or on waitlists for educational programs,
           6        •e, ational programs, and inmate work assignments during the RELEVANT TIME PERIOD.

                   _•REQUEST FOR PRODUCTION NO. 38:
                            ALL DOCUMENTS and COMMUNICATIONS that REFER                          or   RELATE to standards,
        9           guidelines, protocols, or procedures for the provision of mental health care during the
      10            RELEVANT TIME PERIOD to COLEMAN CLASS MEMBERS by community based
      11            housing programs, including but not limited to Community Correctional Facilities.
   12
   13
  ?,14
   15
   16              Dated:                                                Respectfully submitted,
   17
   18
   19                                                                    Lori Rifkin
  20                                                                     Rosen, Bien & Oalvan
                                                                         Attorneys for Plaintiffs
  21
  22
  23
  24
  25
 26
} 27
 28

                   PLAINTIFF RALPH COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS SCHWARZENEGGER, TILTON,
                                            GENEST, AND MAYBERG, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 TEH
Case 2:90-cv-00520-KJM-SCR   Document 2914-1   Filed 08/01/08   Page 26 of 37




                        EXHIBIT C
                        Case 2:90-cv-00520-KJM-SCR                 Document 2914-1           Filed 08/01/08        Page 27 of 37

                           PRISON LAW OFFICE                                          BINGHAM, McCUTCHEN, LLP
                          DONALD SPECTER Bar No.: 83925                               WARREN E. GEORGE Bar No.: 535.88
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                         San Francisco, California 94104
          10             Telephone: (415) 433-6830
          11
                         Attorneys for Plaintiffs
          12
                                                    IN THE UNITED STATES DISTRICT COURTS
          13
                                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
•        •14                                     AND THE NORTHERN DISTRICT OF CALIFORNIA
         15                         UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                                      PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
         16
                                  COLEMAN, et al.,                                   ) No.: Civ S 90-0520 LKK-JFM P
         17                                                                          )
                                       Plaintiffs,                                  ) THREE'JUDGE COURT
         18                                                                         )
         19
                                                                                    )
                                    SCHWARZENEGGER, et al.,                        )
     2O
                                                                                   )
                                       Defendants
                                                                                   )
     21
                                                                                  )
                                                                                 .)
                                       PLATA ,et al.,                             ) No. C01-1351 THE
     22                                                                          )
                                       Plaintiffs,                               ) THREE-JUDGE COURT
    23                                                                           )
    24                             SCHWARZENEGGER, et al.,                      )
                                                                                )
                                                                                ) PLAINTIFF PLATA'S SECOND
    25                                                                         ) REQUESTS FOR PRODUCTION SET        OF
                                                                                                                       OF
                                      Defendants                               ) DOCUMENTS TO DEFENDANTS
    26
    •7
    28

                       PLAINTIFF PLATA'S SECOND SET OF REQUESTS FOR PRODUCTION
                                                                                   OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520
                                                                                                                                   LKK-JFM
                                                                        P, C01-1351 THE
                          Case 2:90-cv-00520-KJM-SCR               Document 2914-1           Filed 08/01/08       Page 28 of 37


                      1     PROPOUNDING PARTIES:                      PLAINTIFFS MARCIANO PLATA ET AL.
                      2     RESPONDING           PARTIES:             DEFENDANTS         SCHWARZENEGGER, TILTON
                      3     SET NUMBER:                               TWO
                  4                     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                  5                     PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure Rule 34,
                  6         Plaintiffs Marciano Plata, et al. request that Defendants Schwarzenegger and Tilton
                  7         ('•'Defendants") produce all responsive Documents requested herein at the office of Plaintiff's
                  8         counsel, Prison Law Office, 2173 East Francisco Blvd, San Quentin, California 94901. The
                  9         date of production shall be thirty (30) days from the date of these Requests,
                                                                                                          or on such other
             10            date as counsel may      mutually agree.
             11                                                         INSTRUCTIONS
             12                        1.    The following Requests require the production of all responsive documents
             13            within the sole or joint possession, custody, or control of any agents, agencies, boards,
•.--;        14            departments, employees, servants, representatives, consultants, counsel, and/or other persons':,..
             15            or entities acting or purporting to act on Defendants' behalf, or otherwise subject to the control

             16            of any Defendants.
         17                        2.        The following Requests are continuing in nature and require prompt
         18                supplemental responses for any and all responsive documents that come into any Defendant's
         19                sole or joint possession, custody, or control after the service of any initial responses hereto.
         20                         3.     The following Requests require the production of preliminary drafts, revisions,
        21                and/or copies of any such document if the copy is in any way different from the original.
        22                         4.      The following Requests require the production of all transmittal sheets,
                                                                                                                     cover
        23                letters, exhibits, enclosures and attachments to the documents, in addition to the documents
        24                themselves.
        25                        5.        Pursuant to Federal Rule of Civil Procedure 34(b), all responsive documents
                                                                                                                                     are
        26                required to be produced either: (a) as they are kept in the usual course of business (together
        27                with copies of any file labels or binder covers for the files or binders in which they
                                                                                                                 are
        28
                                                                                -1-
                          PLAINTIFF PLATA'S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS,
                                                                                                              NOS.: CIV S 90-0520 LKK-JFM
                                                                           P, C01-1351 THE
     Case 2:90-cv-00520-KJM-SCR                Document 2914-1            Filed 08/01/08        Page 29 of 37


           maintained); or (b) organized and labeled to correspond with the categories of the Requests to
       2 which they respond.
       3            6.    If any responsive document is maintained in a computer-readable form, the
       4 document shall be produced: (a) in hard copy form, in a format generally used in the ordinary
       5 course of business; and (b) on disk, tape, or other form of computer storage, with instructions
      6 necessary to convert the information into reasonably usable form (including the
                                                                                              name and
      7 version number of the program used to create or read the data).
      8            7.    In construing the Requests herein, the singular shall include the plural and the
      9 plural shall include the singular. A masculine, feminine or neutral pronoun shall not exclude
    10 the other genders, so that the interpretation applied results in the more expansive production.
    11 The terms "and" and "or" shall be construed broadly and exp•nsively as "and/or," and shall not
   12 be construed to limit the documents or information sought in any manner.
   13             8.    If any Request demands production of documents that have been lost, discarded,
         or destroyed, identify such documents as completely as possible. Such identification shall

   15 include, but is not limited to, a description of the subject matter of the document, the author of
  16 the document, the date of the document's creation, the date of disposal, manner of disposal,
  17 reason for disposal, person authorizing the disposal and person disposing of the document.
  18             9.    For any responsive document or portion thereof that is either redacted or
  19 withheld, in whole or in part, on the basis of any assertion of privilege or other asserted
 20 exemption from discovery, furnish a list identifying each document, or portion thereof, not
 21 produced for this reason, together with the following information: (a) the title or identity of the
 22 document; (b) the date of the document; (c) the type or nature of the document; (d) the identity,
 23 title, or responsibilities, and relationship to Defendants of all persons who either prepared
                                                                                                      or
 24 received the document; (e) the number of pages and attachments; (e) the type and nature of the
25 privilege or exemption asserted; and (f) the contents or subject matter of the document, with
26 sufficient detail to explain the basis for the privilege or exemption asserted (see Fed. R. Cir. P.
2'7 26(b)(5)). For any responsive document or portion thereof that may not properly be redacted
28 or withheld in its entirety, produce each and every portion thereof to which the claimed
                                                             -2-
      PI_,AINTIFF PLATA'S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S
                                                                                                        90-0520 LKK-JFM
                                                         P, C01-1351 THE
                       Case 2:90-cv-00520-KJM-SCR                 Document 2914-1          Filed 08/01/08       Page 30 of 37


                         privilege or exemption does not apply and specify, on the face of each such page or portion,
                   2     the fact and reason for the redaction or withholding.
                3                                                        DEFINITIONS
               4                     1.    "DOCUMENT"        or   "DOCUMENTS"         as   used herein is intended to have the
               5         broadest possible meaning and to include anything coming within the definition of "writings"
               6         and "recordings" as set forth in Rule 1001 (1) of the Federal Rules of Evidence. The term
               7         refers to but is not limited to the product of any method of recording information, whether by
               8        writing or otherwise, including without limitation: any written, electronic, or computerized
               9        files, data or software; memoranda; correspondence; communications; reports; summaries;
          10            studies, analyses; evaluations; notes or notebooks; indices; logs; books, booklets or binders;
          11            pamphlets; calendar or diary entries; ledger entries; press clippings; graphs; tables; charts;
          12            drawings; maps; meeting minutes; photographs; transcripts; audio or video recordings or tapes;
          13            facsimile transmissions; electronic mail messages; and the like. "DOCUMENT" shall include
i.   )'14
                                                                                                any marking or deletio•
                        each copy of any whole or part of a document on which there appears
       15               which does not appear on the original or other copies thereof, together with all drafts
                                                                                                                             or   notes
       16               for the preparation of each document. If the original of a document is not available,
       17               "DOCUMENT" includes any identical copy of the original.
      18                        2.    "REFER(S) TO" or "RELATE(S) TO" means constituting, representing,
      19               defining, depicting, concerning, embodying, reflecting, identifying, stating, mentioning,
      20               addressing, or pertaining to the subject matter of the request in whole or in part, directly or
      21               indirectly.
      22                       3.         "YOU" and "YOUR" refers to all defendants in this litigation, their agents,
     23                representatives, attorneys, and all other persons or entities acting on their behalf.
     24                        4.         "CDCR PRISON" and "PRISONS"             means    any and all facilities in which class
     25                members in this litigation are or can be incarcerated.
                               10.        "COMMUNICATION"           or   "COMMUNICATIONS"             means   any exchange or
                       transfer of information between two or more natural persons, any units of govemment,
     28                (including governmental agencies or local heads of government), non profit organizations,
                       PLAINTIFE PLATA'S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS,
                                                                                                           NOS.: CIV S 90-0520 LKK-JFM
                                                                        P, C01-1351 THE
             Case 2:90-cv-00520-KJM-SCR                Document 2914-1            Filed 08/01/08        Page 31 of 37


         1     public interest groups, associations, quasi-public entities, and all other forms of legal entities,
     2         whether written, oral, or in any other form.
     3                  11.     "PLATA CLASS MEMBERS"                or   "PLAINTIFFS" means the class of state
     4         prisoners with serious medical illness.
     5                                          REQUESTS FOR PRODUCTION
               REQUEST FOR PRODUCTION NO. 39:
                       All DOCUMENTS and COMMUNICATIONS that REFER                             or    RELATE to actions,
              programs, policies, or procedures that YOU have adopted since October 2006 that YOU
              contend will limit or reduce the number of PLATA CLASS MEMBERS housed in CDCR
              PRISONS.




                                                                          Don Specter
                                                                          Prison Law Office
                                                                          Attorneys for Plaintiffs




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             PLAINTIFF PLATA'S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.:
                                                                                                       CIV S 90-0520 LKK-JFM
                                                              P, C01-1351 THE
Case 2:90-cv-00520-KJM-SCR                      Document 2914-1        Filed 08/01/08       Page 32 of 37

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             Telephone: (415) 703-5711                                              NOV l I• 2007
      8      Fax: (415) 703-5843
             Email: Rochelle.East@doj.ca.gov
      9
           Attorneys for Defendants
                                                                           Rosen, Bien & Galvan
  10       Schwarzenegger, Genest, and Tilton
  11                                      IN THE UNITED STATES DISTRICT COURT
  12                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

  13                                 AND THE NORTHERN DISTRICT OF CALIFORNIA

 14                     UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 15                        PURSUANT TO SECTION         2284, TITLE 28 UNITED STATES CODE
 16
             RALPH       COLEMAN, et al.,                               90-0520 LKK JFM
 17
                                                         Plaintiffs,    THREE-JUDGE COURT
 18                            ¥,

 19          ARNOLD        SCtIWARZENEGGER, et al.,
 20                                                   Defendants.
 21
            MARCIANO           PLATA, et al.,                           C-01-1351 TEH
 22
                                                         Plaintiffs,   THREE-JUDGE COURT
 23
 24                                                                    DEFENDANTS' RESPONSES TO
            ARNOLD         SCHWARZENEGGER,           et al.,           PLAINTIFFS' SECOND SET OF
 25                                                                    REQUESTS FOR PRODUCTION
                                                      Defendants.      OF DOCUMENTS
 26
 27
 28
           Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
           Req. for Produc. of Docs., Set Two                                _Plata v. Schwarzenegger, Case No. 01-1351
Case 2:90-cv-00520-KJM-SCR                      Document 2914-1         Filed 08/01/08        Page 33 of 37
      1    PROPOUNDING PARTY: Marciano Plata, et al., Plaintiffs
      2    RESPONDING PARTY:                   Arnold Schwarzenegger and James Tilton, Defendants
      3    SET NO.:                            Two

      4

      5                                              GENERAL OBJECTIONS
      6          1.    Defendants object that the discovery is impermissibly propounded by"Marciano Plata,
          et al., Plaintiffs". Under      Federal Rules of ciVil Procedure 34, Plaintiffs must identify with
      8    specificity the "party" that is propounding discovery.
      9          2.   Defendants object that the discovery seeks documents that are neither relevant
 10       Plaintiffs' claims in this proceeding nor reasonably calculated to lead to the discovery of
 11       admissible evidence. Plaintiffs have refused to identify what if any claims they will be asserting
 12       in the proceeding. Consequently, Defendants object the discovery requires Defendants to
 13       speculate what claims may or may not be asserted by Plaintiffs.
 14              3.   Defendants object that the request is overly broad and unduly burdensome because the
 15       it duplicates and is redundant to various request in Plaintiffs' Request for Production, Set One. •-
 16             4.    Defendants object that the discovery is unduly burdensome and ogerbroad to the extent
 17       it requires Defendants to obtain electronic and paper documents from potentially hundreds of
 18       individuals. Defendants have identified a core group of individuals that are likely to possess
 19       information most relevant to Plaintiffs' requests. Consequently, Defendants have obtained
 20       reasonably accessible electronic and paper documents from these individuals only and will not be
 21       subsequently expanding this search. The reasonably acceSsible electronic and paper documents
 22       obtained by Defendants do not include information cdntained on backup tapes or legacy data
 23       contained on systems that are no longer utilized.
 24             5.    Defendants object to the date and place of production specified in the discovery.
 25       Defendants will produce any non-privileged, responsive documents at the California Attorney
 26       General's Office located at 455 Golden Gate Avenue in San Francisco, California. Additionally,
 27       any production shall be in accordance .with a rolling production schedule agreed to by the parties
 28       and/or ordered by .the Court.
          Defs,' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
          Req. for Produc. of Docs., Set Two                                   Plata v. Schwarzenegger, Case No. 01-1351
Case 2:90-cv-00520-KJM-SCR                     Document 2914-1       Filed 08/01/08         Page 34 of 37

      1                                        DEFENDANTS' RESPONSES
      2    REQUEST FOR PRODUCTION NO. 39:
      3          All DOCUMENTS and COMMUNICATIONS that REFER                     or   RELATE to actions,

     4     programs, policies, or procedures that YOU have adopted since October 2006 that YOU contend
      5    will limit or reduce the number of PI•tTA CLASS MEMBERS housed in CDCR PRISONS.
     6     RESPONSE TO REQUEST FOR PRODUCTION NO. 39:
     7           Defendants object to this request on the ground that it is vague, ambiguous, and overbroad
     8     in that it seeks information that is irrelevant to the claim or defense of any party, and is not
     9    reasonably calculated to lead to the discovery of admissible evidence. Defendants further object
 10       to this request on the ground that it seeks the disclosure of information that is protected by the

 11 attomey-client privilege, work-product doctrine, deliberative process privilege, official
 12 information privilege, and violates the privacy rights of third-party persons. Defendants further
 13 object to this request on the ground that it is duplicative of Plaintiffs' Request for Production of
 14 Documents, Set One, No. 2, 24, 27, 34, 37, and 38, and is thus, redundant, unduly burdensome,
 15 and harassing. Defendants further object to this request on the ground that it is premature in that
 16 it seeks information that is irrelevant to Phase I of this litigation per the Court's October 10, 2007
 17 Order Bifurcating Proceedings and Setting Deadlines for Phase I, as well as Judge Moulds'
18 October 30, 2007 order. Defendants further object to this prematurely propounded request on the
19 ground that discover• is still ongoing, Plaintiffs have failed to produce any documents requested
20 in Defendant Schwarzenegger's First Request for Production of Documents, and depositions
21 have not yet been taken. Requiring Defendants to respond to this prematurely propounded
22 discovery request, which seeks to circumvent the Courts' discovery orders by requiring a
23 response to a Phase II request, will result in an undue burden to Defendants and improper
24        ////
25        ////
26        ////
27        ////
28        ////
          Defs,' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No. 90-0520
          Req. for Produc. of Docs., Set Two                                 Plata v. Schwarzenegger, Case No. 01-1351
Case 2:90-cv-00520-KJM-SCR                     Document 2914-1        Filed 08/01/08         Page 35 of 37
      1    disclosure of information. Defendants expressly reserve the right to raise additional objections to
      2    this request if a response to this request is required.
      3
           Dated: November 9, 2007                                   EDMUND G. BROWN JR.
      4                                                              Attorney General of the State of California
      5
      6
                                                            By:
                                                                                          J. ANTONEN
      7
                                                                            Deputy Attorney General
                                                                            Attorneys for Defendants
      8
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          Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
          Req. for Produc. of Docs., Set Two                                  Plata v. Schwarzenegger, Case No. 01-1351
                                                              4
 Case 2:90-cv-00520-KJM-SCR            Document 2914-1         Filed 08/01/08      Page 36 of 37


                         DECLARATION OF SERVICE BY U.S. MAIL

 Case Name:     Ralph Coleman, et al v. Arnold Schwarzenegger, et al, 90-0520 LKK JFM
                Marciano Plata, et al v. Arnold Schwarzenegger, et al, C 01-1351 TEH

 I declare:

 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar, at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter; my business address is 455 Golden Gate Avenue, Suite
 11000, San Francisco, CA 94102
 On November 9, 2007, I served the attached DEFENDANTS' RESPONSES TO
 PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
 by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully prepaid,
 in the United States Mail at San Francisco, California, addressed as follows:

 Donald Specter                                       Martin H. Dodd
 Prison Law Office                                    Futterman & Dupree
.2173 'E' Francisco Blvd., Suite M                    160 Sansome Street, 17th Floor
 San Rafael, CA 94901                                 San Francisco, CA 94109

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Claudia Center                                       RONALD YANK
The Legal Aid Society -.Employment Law               Carroll, Burdick & McDonough, LLP
Center                                               44 Montgomery Street, Suite 400
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San Francisco, CA 94107
                                                     ANN MILLER RAVEL
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Seattle, WA 98104                                    San Jose, CA 95110

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Bingham McCutchen
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San Francisco, CA 94111
Case 2:90-cv-00520-KJM-SCR              Document 2914-1         Filed 08/01/08       Page 37 of 37

 Jared Goldman                                         ROD PACHECO
 California Prison Healthcare Receivership              CHUCK HUGHES
 1731 Technology Dr., Suite 700                         Office of the District Attorney
 San Jose, CA 95110                                     County of Riverside
                                                        4075 Main Street, First Floor
                                                        Riverside, CA.92501
 John Hagar
 Law Office of John Hagar                              STEVEN WOODSIDE
 PMB 314                                               Office of the County Counsel
 1819 Polk Street                                      575 Administration Dr., Room 105A
 San Francisco, CA 94109                               Santa Rosa, CA 95403


STEVENS. KAUFHOLD
Akin Gump Straus Hauer & Feld LLP
580 California Street, 15th Floor
San Francisco, CA 94102




                                                             •A/•./• •/•
I declare under penalty of perjury under the laws of the State of California the foregoing is true and
correct and that this declaration was executed on November 9, 2007, at San Francisco, California.


                J. Baker
                Declarant                                       U ¢/gi•iatur•
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